                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO.: 3:17-cv-00022-KDB-DCK

 Curtis Neal, on behalf of himself                   )
 and others similarly situated,                      )
                                                     )
                Plaintiff,                           )
                                                     )
 v.                                                  )
                                                     )
 Wal-Mart Stores, Inc., d/b/a Walmart                )
 and                                                 )
 Synchrony Bank, f/k/a GE Capital Retail Bank,       )
                                                     )
                Defendants.                          )
                                                                         ORDER
                                                     )
                                                     )
 Roy Campbell on behalf of himself                   )
 and all others similarly situated,                  )
                                                     )
                Plaintiff,                           )
                                                     )
 v.                                                  )
                                                     )
 Synchrony Bank,                                     )
                                                     )
                Defendant.                           )

       THIS MATTER is before the Court on Defendant Synchrony Bank’s Motion to Stay.

(Doc. No. 105). The Honorable Magistrate Judge David C. Keesler denied three motions in this

matter following the Court’s order granting preliminary approval of the parties’ settlement

agreement. (Doc. No. 118). Defendant’s Motion to Stay was not referred to Judge Keesler and

remains pending. In light of this Court’s preliminary approval of the settlement agreement in this

matter, the Court ORDERS that Defendant’s Motion to Stay, (Doc. No. 105), be DENIED AS

MOOT. The motion is denied without prejudice to being re-filed if the proposed settlement is not

approved by the Court.




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 SO ORDERED.


                    Signed: November 9, 2020




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